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Exhibit “9”



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                                   Perpetrator

                                               Perpetrator
                Jane Doe 3                            Perp.
                                Jane Doe 4                                                     J
   John Doe 2



                                                         Perpetrator                           Mother 1

                    Perp.                                                           Mother 1

                     Perp.                    Perp.                                                D1D

                D2D                   Mother 1


                             Mother 1 Perp.

                                    Perp.




                                                                 Perp.


                 Mother 1

                                                 Perp.




                                             "the Apostle"




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                                                                      Perp.




                                                      Perp.




                                   Mother 1
       Perp.


                                                              Perp.




                      Perp.




                                              Perp.



                                                                      Perp.




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                                                LH              MW




                                                      Perp.




                 MW




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                                   Perp.

                                                            Perp.




  Perpetrator




  Perpetrator




                                                   Perpetrator




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